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UNIVERSITY
HUMAN RESOURCES

 

New EMPLOYEE Orientation

 

Welcome to Liberty University!

We are excited that you are with us today to hear about the Liberty story and become a part of
the Liberty family. We are discussing a variety of topics to assist you in acclimating to life as an
employee. We ask that at the end of orientation, that you would please read and sign this
acknowledgement and leave it with one of the HR staff.

Statement of Mission and Purpose
Tax paperwork
LUPD Services and Regulations (i.e. parking)
Dining, meal plans and Flames Cash
Weliness and Fitness Opportunities
Claim Your Liberty Account and Email
Getting your Liberty ID and Card Services
myLU (Where it is and what it’s for?)
HR iPay & Benefits site & the ADP Benefit App
Pay Days and Pay Checks (first one is mailed)
TimeSaver
Employee Handbook (including: Inclement Weather, Dress Code, Grievance,
Harassment & Discrimination Avoidance, Career Advancement}
You Matter
® Benefits (including: paid holidays, vacation and personal/sick days)
o You must elect your health and welfare benefits online within 45 days of hire
e Automatic Contribution Arrangement 403(b)(9) Retirement Plan
o You will have 5% of pay automatically deducted from your paycheck and
matched by Liberty {@ 5%} unless you actively elect not to do so.

| hereby acknowledge that | have heard the presentation containing the items listed above in
the New Employee Orientation. The presentation has provided details concerning employment
practices, policies, location of offices as well as how to enroll in our benefit programs.

Signature Date
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Name (Printed}

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